Filed 8/26/24 P. v. McCray CA1/4

                  NOT TO BE PUBLISHED IN OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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          IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                      FIRST APPELLATE DISTRICT
                                                  DIVISION FOUR


 THE PEOPLE,
         Plaintiff and Respondent,                                     A168279
                           v.
                                                                       (Alameda County
 JAMES MCCRAY,                                                         Super. Ct. No. RM08389840)
         Defendant and Appellant.



                                       MEMORANDUM OPINION1
         In a recent published opinion, we set forth the pertinent background
here. “James McCray has been committed to the State Department of State
Hospitals (DSH) for a series of one-year terms more or less continuously since
2005 under the statutory scheme governing violent offenders with mental
health disorders (OMHD). (See Pen. Code, § 2960 et seq.).” (People v. McCray
(2023) 98 Cal.App.5th 260, 264 (McCray I).)
         McCray I involved an appeal from a 2022 recommitment order.
McCray now appeals from a 2023 recommitment order. After a bench trial



         1 We resolve this case by a memorandum opinion pursuant to

California Standards of Judicial Administration, section 8.1.



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that took place on April 28, 2023 and May 5, 2023 (the April 2023 trial), the
court ordered McCray recommitted to DSH for a term ending April 29, 2024.
His 2023–2024 term having expired, once again we conclude we must dismiss
for mootness because there is no effective relief we could order even if we
found error at or in connection with McCray’s April 2023 trial.
      McCray makes the same arguments attacking the sufficiency of the
court’s jury trial waiver that he made in McCray I. The Attorney General
concedes error, but argues mootness. We decline to address the jury waiver
issue again. Since the record in this appeal does not materially differ from
the record in McCray I, we have nothing further to say about it.
      We find it unsurprising that the guidance we gave in McCray I was not
followed in the April 2023 recommitment trial, that proceeding having
occurred months before we published our opinion in McCray I. We also note
that McCray declined to attend the April 2023 trial and refused to participate
in a video hearing so that the trial judge could voir dire him directly. In
doing so, he invited any error in obtaining an adequate jury waiver from him.
                                DISPOSITION
      The appeal is dismissed as moot.

                                                     STREETER, Acting P. J.

WE CONCUR:

GOLDMAN, J.
DOUGLAS, J.*




      * Judge of the Superior Court of California, County of Contra Costa,

assigned by the Chief Justice pursuant to article VI, section 6 of the
California Constitution.


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